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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMES DEVARY                                      Civil Action No.

Plaintiff,
                                                  COMPLAINT
       v.
                                                  DEMAND FOR JURY TRIAL
NATIONAL SECURITIES CORPORATION
and FORTE CAPITAL GROUP, INC.,



Defendants.


   1. Plaintiff James DeVary alleges as follows:

                          JURISDICTION AND VENUE

   2. This Court has diversity of citizenship jurisdiction under 28 U.S.C. § 1332

       because the matter in controversy exceeds the sum of $75,000, exclusive of

       interest and costs, and is between citizens of different states.

   3. Plaintiff James DeVary is an adult individual domiciled in the state of

       Arizona.

   4. Defendant National Securities Corporation (hereinafter “National”) is a

       financial advising firm incorporated in the state of Washington.

   5. Defendant National has its principal place of business located at 200 Vesey

       Street, 25th Floor, New York, NY 10281.

   6. Defendant Forte Capital Group Inc. (hereinafter “Forte”) is a financial

       advising firm incorporated in the state of New York.
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7. Defendant Forte has its principal place of business located at 80 Broad

   Street, Suite 2900, New York, NY 10004.

8. Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because

   Defendant National and Defendant Forte’s principal place of business are

   located in this district.

9. Plaintiff will serve a copy of this Complaint upon an authorized

   representative of the Commissioner of Consumer and Worker Protection

   within ten days of commencement of this action.

                               FACTUAL ALLEGATIONS

10. Roger Monteforte is the founder and Chief Executive Officer of Forte.

11. Plaintiff was retained by Forte as an independent contractor to provide

   services for compensation.

12. Plaintiff was retained as a financial advisor.

13. On or around January 2018, Plaintiff entered into an oral agreement with

   Roger Monteforte.

14. This oral agreement was entered into at Defendant Forte’s office at 80

   Broad Street in New York City.

15. The terms of the Agreement were:

       a. Plaintiff would receive a 3% carry on profitable SPV
          investments that paid out 100% to the rep.;

       b. For investments attributed to reps VRM and L08,
          Plaintiff would receive 69% of the gross commission
          paid to National outside of the carried interest; and
          then would receive 100% of the carried interest




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          (which is 3% of the total profit earned by the
          investment);

      c. For Eqis investments, Plaintiff would receive 70% of
         the gross commission paid to National;

      d. For life insurance investments, Plaintiff would receive
         70% of the gross commission paid to National;

      e. For investments attributed to the rep 3Q8, Plaintiff
         would receive 70% of the gross commission paid to
         National; and

      f. For investments attributed to Q56, Plaintiff would
         receive 69% of his half of the gross commission paid
         to National.

16. From January 2018 through January 2021, Plaintiff received monthly

   commission payments pursuant to the terms of this Agreement.

17. From January 2018 through January 2021, Plaintiff received the monthly

   commission payments from Defendant National.

18. From 2018 – 2020, Plaintiff was issued a from 1099 from National for the

   commission payments.

19. In the ordinary course, from January 2018-January 2021, during the first

   week of the month following the month in which commissions were

   earned, Defendant National sent Plaintiff his commission statement.

20. Plaintiff was able to verify his commission statement by cross referencing

   his numbers in the compnet computer system.

21. Plaintiff was responsible for requesting corrections to his commission

   statement before payroll.




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22. From January 2018-January 2021, Defendant National Securities paid

   Plaintiff on the 15th of each month following the month in which his

   commissions were earned.

23. In October 2019, Plaintiff earned a 3% carry on profitable SPV

   investments.

24. The 3% carry on profitable SPV investments earned in October 2019 was

   paid to Plaintiff by Defendant National Securities in November 2019.

25. During a call on March 2, 2021, David Levine, Executive Vice President

   and Chief Sales Relationship Manager for Defendant National terminated

   Plaintiff’s services.

26. During the March 2, 2021 call, Plaintiff requested his commission

   statement.

27. The commission statement was also known as a “run.”

28. David Levine responded that he needed to get that information from

   Forte.

29. On March 7, 2021, David Levine emailed Plaintiff his February 2021

   commission statement with the heading “Rep Sales Blotter Report For the

   Cycle From 2/01/2021 to 2/28/2021.”

30. On March 10, 2021, David Levine emailed Plaintiff his March 2021

   commission statement.

31. The February commission statement provided that Plaintiff’s commission

   payment should have been $175,627.62.




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32. The March commission statement provided that Plaintiff’s commission

   payment should have been $1,841.33.

33. The February and March commission numbers were lower than Plaintiff’s

   calculations.

34. By way of example only, the February 2021 commission statement:

      g. Fails to include the sale of Palantir stock for which
         Plaintiff was owed a 3% carry on profitable SPV
         investments that paid out 100% to the rep.

              i. On February 26, 2021, Roger Monteforte sold
                 the Palantir stock.

             ii. Defendant National Securities used $31.91, the
                 closing price on February 12, 2021 to determine
                 the allocation of carried interest.

            iii. Defendant charged clients 10% carry interest
                 based on a sale price of $31.91 per share.

            iv. Defendant National sold the Palantir stock at
                $26.33 per share.

             v. Upon information and belief, in February,
                every advisor except Plaintiff received a log
                (aka investor distribution share count)
                showing how many shares of Palantir his/her
                clients had in order to calculate the 3% carry.

            vi. On February 20, 2021, Plaintiff emailed Declan
                Mcquade, Executive Vice President, Forte, and
                requested his log (aka investor distribution
                share count).

            vii. Mr. Mcquade did not respond to the February
                 20, 20201 email.

           viii. On February 26, 2021, Plaintiff emailed Declan
                 Mcquade again asking for his Palantir share




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                  breakdown from client accounts and carry
                  share amount for commission.

             ix. Mr. Mcquade did not respond to the February
                 26, 2021 email.

       h. Includes $23,805 commission to Plaintiff for Tanium
          instead of $66,240.

               i. The spreadsheet shows that Plaintiff’s clients
                  had $575,000 invested in Tanium.
                     1. 6% of $575,000 = $34,500 (gross
                        commission). 69% of $34,500 = $23,805
                        (net commission).

              ii. Plaintiff’s clients had $3,200,000 invested in
                  Tanium.
                     1. Plaintiff should have received credit for
                         half because he shared the clients with
                         another advisor. $1.2 X 6%= 96,000
                         (gross commission) and 96k x 69%=
                         66,240 (net commission).

35. On March 12, 2021, David Levin and Emily Hayes, counsel for Defendant

   National had a telephone call with Plaintiff.

36. Plaintiff did not raise a claim before or during this call.

37. During the March 12, 2021 call, David Levin said that if Plaintiff signed a

   waiver releasing both Defendant Forte and Defendant National from any

   customer disputes, they would pay him $171,000 immediately.

38. Defendant Forte’s document titled “Forte Feb end of month payout”

   showed that Plaintiff was owed at least $191,505.24 from January 28, 2021

   to February 24, 2021.

39. Plaintiff explained that his own calculations showed that he was owed

   more than $171,000.


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40. Plaintiff explained that he is owed over $200,000 just on the Palantir carry.

41. Plaintiff also explained that he had tracked client money movement of

   $3.2 Million being invested in Tanium SPV and that would generate a net

   payout to him of $66,240.

42. David Levine told Plaintiff that $2,200,000 of the $3,200,000 was not closed

   on, i.e., the investment was not actually made.

43. Plaintiff told David Levine that Plaintiff’s calculations were based on the

   money flow notifications that Plaintiff received from Fidelity (the clearing

   firm).

44. Plaintiff asked David Levine to pull the spreadsheets that Plaintiff made

   that were on Defendant’s computer system (that Plaintiff no longer had

   access to) so that they could review each transaction.

45. David Levine said that he would ask Forte management.

46. David Levin told Plaintiff that the offer for $171,000 was take it or leave it.

47. Plaintiff declined the offer.

48. David Levine never gave Plaintiff the spreadsheets requested on the

   March 12 call.

49. Defendants have not paid Plaintiff for any commissions earned in

   February and/or March 2021.

50. Defendants have willfully refused to pay Plaintiff for commissions earned

   in February and/or March 2021.




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51. For all of 2018, Plaintiff worked in Defendant Forte’s office at 80 Broad

   Street, New York, NY 10004.

52. From January 2018 through March 2, 2021, Plaintiff’s designated branch

   office was 80 Broad Street.

53. In 2019, Plaintiff requested permission to work remotely from Arizona.

54. Defendant National provided that Plaintiff may work remotely from

   Arizona with the “limitation[s]” that his “designated branch office” “must

   be reflected on all business cards, stationary, advertisements and other

   communications to the public.”

55. Defendant National provided that Plaintiff may work remotely from

   Arizona with the “limitation[s]” that “[a]ll orders must be entered through

   the designated branch office or through an electronic system (i.e.

   Wealthscape) approved by the member.”

56. Defendant approved the request and Plaintiff began working remotely in

   November 2019.

57. From January 2018 through March 2, 2021, Plaintiff’s business card listed

   80 Broad Street, New York, NY as his business address.

58. From January 2018 through March 2, 2021, Plaintiff’s business cards were

   ordered by Justine Fiore, Registered Executive Assistant in Forte’s New

   York office.

59. From January 2018 through March 2, 2021, Declan Mcquade reviewed

   and approved Plaintiff’s business cards.




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60. Plaintiff had no control over the look or content of his business card.

61. From January 2018 through March 2, 2021, Damian Defex, Managing

   Director at Forte, and Declan Mcquade conducted daily 9 am morning

   meetings for all advisors including Plaintiff.

62. The advisors’ attendance at the morning meeting was mandatory.

63. Attendance was taken at the morning meetings.

64. Plaintiffs’ attendance at the morning meetings was mandatory.

65. From January 2018 through November 2019, Plaintiff attended the 9 am

   morning meeting in person.

66. From November 2019-March 2020, Plaintiff attended the morning

   meetings by phone.

67. When the Covid-19 global pandemic began, all advisors began to work

   remotely and attended the morning meeting via Zoom audio.

68. After a few weeks, all advisors were told to attend the meeting via Zoom

   video.

69. Advisors were instructed to attend the meeting using their computers so

   that management could take attendance (management did not know

   every advisor’s phone number).

70. From January 2019 through March 2, 2021, Plaintiff attended the 9 am

   daily meeting in the New York office via zoom along with the rest of the

   financial advisors.




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71. From January 2018 through March 2, 2021, Plaintiff’s email signature

   reflected 80 Broad Street, New York, NY as his business address.

72. From January 2018 through March 2, 2021, Plaintiff entered all equity

   trades through the Wealthscape system.

73. From January 2018 through March 2, 2021, Plaintiff sent all alternative

   investments (private shares, sunstone, preferred apartments etc.) to

   Declan Mcquade, Executive Vice President, Forte, for approval.

74. Once Declan Mcquade approved the investment, Justine Fiore filled out

   subscription documents for the investment.

75. Once the subscription documents were filled, they were sent to clients to

   sign.

76. Once the clients signed the subscription documents, they were sent to

   Declan Mcquade for final approval and then submitted for investment.

77. While working remotely from Arizona, Plaintiff opened new client

   accounts by sending the client’s information to Kevin Young, Compliance

   Officer at Forte.

78. Kevin Young reviewed the information and decided if to approve or deny

   opening the account.

79. While working remotely from Arizona, Plaintiff contacted Manuel Klemm

   at Forte’s NY office for help with any technical issues.

80. While working remotely from Arizona, Plaintiff attended the New York

   office’s update meetings on covid policy.




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81. While working remotely from Arizona, Plaintiff attended the New York

   office’s private shares innovation x meetings.

82. While working remotely from Arizona, Plaintiff regularly conferred with

   employees in the New York office to brainstorm on business matters.

83. While working remotely from Arizona, Plaintiff’s business phone number

   remained the same phone number with a 212 area code.

84. Forte capital’s website asserts that Forte Capital is not affiliated with

   National Securities Corporation.

85. Plaintiff was supervised by Roger Monteforte, Declan Mcquade EVP,

   Kevin Young OSJ principal, and Damian Defex Managing Director.

86. Plaintiff was reviewed by Damian Defex.

87. In February and March 2021, Plaintiff’s principal activity was the selling

   of investments whose earnings were based in whole or in part on

   commissions.

88. From November 2019 – March 2, 2021, Plaintiff did not supervise any

   employees or contractors at Forte or National.

89. Defendants failed to pay Plaintiff over $300,000 in commissions earned in

   February and March 2021.

                 FIRST CAUSE OF ACTION
        VIOLATION OF THE FREELANCE ISN’T FREE ACT
        NEW YORK CITY ADMIN. CODE §§ 20-928 and 20-929

90. Plaintiff repeats and realleges all paragraphs above as though fully set

   forth herein.




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91. Plaintiff was a freelance worker.

92. Defendant Forte was a hiring party.

93. Defendants failed to use a written contract with Plaintiff.

94. Defendant National paid Plaintiff for services provided pursuant to

   Plaintiff’s oral agreement with Roger Monteforte.

95. Defendants Forte and National failed to pay Plaintiff commissions earned

   pursuant to their oral agreement.

96. Defendants failed to pay Plaintiff commissions that were earned in

   February 2021 and due on March 15, 2021.

97. Defendants failed to pay Plaintiff commissions that were earned in March

   2021 and due on April 15, 2021.

98. After Plaintiff commenced performance of his services, Defendant

   National required as a condition of timely payment that Plaintiff accept

   less compensation than the amount of the contracted compensation.

99. Plaintiff seeks statutory damages equal to the value of the underlying

   contract for the violation of § 20-928 in addition to double damages,

   reasonable attorney’s fees, costs, interest, injunctive relief and other such

   remedies as may be appropriate.

                 SECOND CAUSE OF ACTION
         VIOLATION OF NEW YORK LABOR LAW § 191(1)(c)

100.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

101.      Plaintiff was a commission salesperson.


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102.      Defendants Forte and National were joint employers.

103.      Defendants failed to pay Plaintiff monies earned in accordance

   with the agreed terms of employment.

104.      Defendants failed to reduce the agreed terms of employment to

   writing, signed by both the employer and the commission salesperson.

105.      Plaintiff seeks his unpaid commissions, liquidated damages of

   100%, interest, attorney’s fees, court costs, and disbursements and such

   other legal and equitable relief as this Court deems just and proper.

                    THIRD CAUSE OF ACTION
              VIOLATION OF NEW YORK LABOR LAW § 191(3)

106.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

107.      Plaintiff was a commission salesman for Defendants.

108.      Defendants Forte and National were joint employers.

109.      Defendants terminated Plaintiff’s employment.

110.      After Plaintiff’s termination, Defendants failed to pay Plaintiff his

   wages within the next regular pay day.

111.      Plaintiff seeks his unpaid wages, liquidated damages, interest,

   attorney’s fees, court costs, and disbursements and such other legal and

   equitable relief as this Court deems just and proper.




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                   FOURTH CAUSE OF ACTION
               VIOLATION OF NEW YORK LABOR LAW § 193

112.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

113.      Plaintiff was employed by Defendants.

114.      Defendants Forte and National were joint employers.

115.      Defendants deducted Plaintiff’s commissions.

116.      Plaintiff seeks his unlawful deductions, liquidated damages,

   interest, attorney’s fees, court costs, and disbursements and such other

   legal and equitable relief as this Court deems just and proper.

                          FIFTH CAUSE OF ACTION
                           (Breach of Contract)

117.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

118.      Plaintiff had an oral agreement with Defendants to be paid for

   services.

119.      Defendants Forte and National were joint employers.

120.      Defendants failed to pay Plaintiff for his services.

121.      Plaintiff seeks payment for his services, plus interest and costs.

                       SIXTH CLAIM FOR RELIEF
                          (Unjust Enrichment)

122.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

123.      Defendants Forte and National were joint employers.


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124.      Because Plaintiff performed services for Defendants with the

   expectation and understanding that he would be compensated for his

   work fairly, and instead Defendants retained for themselves wages that

   were legally required to be paid to Plaintiff, equity and good conscience

   require that Plaintiff receive restitution from Defendants.

125.      As a consequence of Defendants’ aforesaid actions, they have been

   unjustly enriched at Plaintiff’s expense, and Plaintiff is entitled to recover

   from Defendants, jointly and severally, all damages and remedies

   provided for by law, including, inter alia, all wrongfully withheld

   compensation, plus interest, costs, and attorneys’ fees.

                       SEVENTH CLAIM FOR RELIEF
                            (Quantum Meruit)

126.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

127.      Defendants Forte and National were joint employers.

128.      Defendants requested service from Plaintiff.

129.      Plaintiff performed the requested services in good faith.

130.      Defendants received a benefit from Plaintiff’s services.

131.      Because Plaintiff performed services for Defendants with the

   expectation and understanding that he would be compensated for his

   services fairly, and instead Defendants retained for themselves wages that

   were legally required to be paid to Plaintiff, it would be unjust for the

   Defendants to retain the benefits of Plaintiff’s services without paying him


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   for those services and Plaintiff is entitled to recover from Defendants,

   jointly and severally, all damages and remedies provided for by law,

   including, inter alia, all wrongfully withheld compensation, plus interest,

   costs, and attorneys’ fees.

                       EIGHTH CLAIM FOR RELIEF
                           UNPAID WAGES
                            (A.R.S. § 23-355)

132.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

133.      Defendants Forte and National were joint employers.

134.      Plaintiff was an employee.

135.      Defendants failed to pay Plaintiff his earned commissions/wages.

136.      Plaintiff seeks his unpaid wages, treble damages, attorney’s fees,

   plus interest and costs.

                       NINTH CLAIM FOR RELIEF
                          WITHHELD WAGES
                            (A.R.S. § 23-352)

137.      Plaintiff repeats and realleges all paragraphs above as though fully

   set forth herein.

138.      Defendants Forte and National were joint employers.

139.      Plaintiff was an employee.

140.      Defendants withheld Plaintiff’s wages.

141.      Defendants Forte and National were joint employers.

142.      Defendants did not act in good faith.




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   143.      Plaintiff seeks his withheld wages, treble damages, attorney’s fees,

      plus interest and costs.

                          TENTH CLAIM FOR RELIEF
                              (A.R.S. § 23-353)

   144.      Plaintiff repeats and realleges all paragraphs above as though fully

      set forth herein.

   145.      Defendants Forte and National were joint employers.

   146.      Plaintiff was an employee.

   147.      Defendants terminated Plaintiff’s employment.

   148.      Defendants failed to pay Plaintiff his wages within seven working

      days of the termination.

   149.      Defendants did not act in good faith.

   150.      Plaintiff seeks his withheld wages, treble damages, attorney’s fees,

      plus interest and costs.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

against Defendants and grant the following relief:

   1. An award of damages, according to proof, including liquidated damages,

      and treble damages to be paid by Defendants;

   2. Attorneys’ fees, costs, interest and such other and further relief as the

      Court may deem just, equitable, and proper.




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                           DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial on all causes of action and claims

with respect to which he has a right to jury trial.


Dated: September 21, 2021                  The Goldring Firm

                                                 /s/
                                           ________________________
                                           Orit Goldring

                                           40 Fifth Avenue
                                           New York, NY 10011
                                           Tel: 212.844.9308

                                           Attorneys for Plaintiff
                                           James DeVary




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